 Case: 1:20-cv-02893
         Case 23-11069-CTG
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                                    Filed: 09/07/23
                                           Filed 10/07/23
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Anthony Martino
                             Plaintiff,
v.                                                  Case No.: 1:20−cv−02893
                                                    Honorable John J. Tharp Jr.
YRC, Inc., et al.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 7, 2023:


        MINUTE entry before the Honorable John J. Tharp, Jr:In light of the suggestion of
bankruptcy as to Yellow Corporation [97], which indicates that both defendant entities
have also filed bankruptcy petitions, this matter is stayed. The pending summary judgment
motion [78] is administratively terminated without prejudice to refiling after the stay has
been lifted or further order of the Court. A status report on the defendants' bankruptcy
proceedings is due 12/8/23. Mailed notice(air, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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